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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **          *
                                               *
  FRAMACO INTERNATIONAL INC.                   *
                     Plaintiff,                *
                                               *
  v.                                               No. 18-960C
                                               *
                                                   Filed: August 3, 2018
                                               *
  UNITED STATES,                               *
                     Defendant.                *
                                               *
   * * * * * * * * * * * * * * * * **          *


                                         ORDER

       The court is in receipt of the plaintiff’s August 3, 2018 motion to voluntarily dismiss
the above captioned case without prejudice. Pursuant to Rule 41(a)(1) of the Rules of the
United States Court of Federal Claims (2018), the court ORDERS that the above
captioned case be DISMISSED without prejudice.

       IT IS SO ORDERED.

                                                       s/Marian Blank Horn
                                                       MARIAN BLANK HORN
                                                                Judge
